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                                 #:3266


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  3   Carlsbad, California 92008-5507
  4   Telephone : 760-482-7095
      Facsimile : 760-400-8361
  5
  6   Court Appointed Receiver

  7
  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11    SECURITIES AND EXCHANGE              Case No. 8:18-cv-02220-DOC-(KESx)
       COMMISSION,
 12                                         DECLARATION OF FAITH A.
                     Plaintiff,             DEVINE IN SUPPORT OF FIRST
 13                                         INTERIM FEE APPLICATION
             v.
 14
                                            Judge :        Hon. David O. Carter
       CRAIG ARSENAULT, ATLAS
 15    CAPITAL MANAGEMENT, INC.,            Ctrm :        9D
       and ACT GLOBAL                       Date:         June 29, 2020
 16    INVESTMENTS,                         Time:         8:30 a.m.
 17                  Defendants.
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                                                                         Case No. 8:18-cv-02220
                                                  DEVINE DECL. ISO INITIAL FEE APPLICATION
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  1         I, Faith A. Devine, hereby declare as follows:
  2         1.     By the Preliminary Injunction entered December 27, 2019 (ECF No.
  3   14), the Court appointed me Permanent Receiver for Defendant Act Global
  4   Investments, and its successors, subsidiaries or affiliates, including but not limited
  5   AJF Development Group, LLC (the “Receivership Entity”). I have personal
  6   knowledge of the facts set forth in this Declaration and if called as a witness I could
  7   and would competently testify to the facts stated herein.
  8         2.     By this First Interim Fee Application, I seek approval for the payment
  9   of fees and expenses from inception of the receivership on December 27, 2019
 10   through May 31, 2020 as detailed below.
 11         Receivership Activities
 12         3.     I filed a First Status Report and Accounting on March 6, 2019 (ECF
 13   No. 22) and a Second Status Report and Accounting on May 29, 2020 (ECF No.
 14   107). Each of these reports summarizes my implementation of the Preliminary
 15   Injunction, the business activities and financial condition of the Receivership
 16   Entity, the resolution of pending litigation against the Receivership Entity, and the
 17   prospects for recovery by the defrauded investors of ACT. The reports also reflect
 18   the services which are the subject of the First Interim Fee Application.
 19         Fees and Expenses of Receiver and Staff
 20         4.     The total fees for my time as Receiver and my professional staff from
 21   December 27, 2018 (the date I was appointed Receiver) and May 31, 2020 are
 22   $42,273.10. The services provided by my professional staff and I are detailed in the
 23   invoice which is attached as Exhibit A. That invoice includes services provided by
 24   the following personnel:
 25                a. Receiver. My fees as Receiver total $27,472.50 which reflects a
 26   total of 99.10 hours spent over the past 18 months at $275 per hour (a large
 27   discount from my standard rate of $450 per hour). During this period, I spent time
 28   (i) reviewing and analyzing investor claims, (ii) communicating with investors (iii)
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  1   preparing status reports and notices of distribution or investor funds, (iv) analyzing
  2   the assets of the Receivership Entities, (v) attending court hearings (vi) reviewing,
  3   analyzing and resolving state court litigation, and (vii) coordinating an reviewing
  4   the activities of my professional staff and outside counsel.
  5                b. In-house counsel Timothy France assisted me with preparing
  6   demand letters to third parties to collect funds due to the Receivership Entity, and
  7   with my initial attempt to resolve the pending litigation filed against the
  8   Receivership Entity. Mr. France also prepared the motion for determination of
  9   investor claims. His fees are $7,750 which reflect 31 hours at the discounted rate of
 10   $250 per hour.
 11                c. Forensic Analyst Bridgid Cook provided valuable accounting and
 12   financial review services. Ms. Cook obtained and reviewed detailed financial
 13   records to determine the amount of the investors’ claims. Ms. Cook communicated
 14   with investors and prepared spreadsheets which were provided to the Court in its
 15   Motion for Determination of Investor Claims. Ms. Cooks’ fees are $6175 which
 16   reflect 49.40 hours at a discounted rate of $125 per hour. Ordinarily, these services
 17   are provided by outside forensic accounting firms that charge $375 per hour.
 18                d. Financial Analyst Anita Childress provided valuable financial
 19   assistance by keeping track of the Receivership Entity’s Quickbooks as well as
 20   tracking deposits and investor distributions. Ms. Childress’ fees are $375 which
 21   reflect 7.5 hours at a discounted rate of $50 per hour.
 22         5.     My invoice also includes expenses totaling $500.60, as detailed in
 23   Exhibit A.
 24         Fees and Expenses of Receiver’s Counsel
 25         6.     The fees for my counsel, Weiland, Golden & Goodrich (“WGG”), are
 26   $119,020.35, detailed in Exhibit B. After I was unable to resolve the pending
 27   litigation filed against the Receivership Entity, or come to an agreement on the sale
 28   of property in Oceanside, I retained WGG to represent the Receivership Entity at
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  1   substantially discounted rates. Jeff Golden has over 25 years’ experience and
  2   discounted his rate from $750 per hour to $550. Kerry Moynihan has over 10
  3   years’ experience and provided services at $350 per hour discounted from her
  4   regular rate of $500 per hour. Mr. Golden’s fees of $12,760.00 reflect 23.2 hours at
  5   a rate of $550 per hour and Ms. Moynihan’s fees of $103,040.00 reflect 294.4 hours
  6   at a rate of $350 per hour. Associate Ryan Beall’s fees are $1365 reflecting 3.9
  7   hours, paralegal Cynthia Meeker’s fees are $225 reflecting .9 hours at a rate of
  8   $250 per hour, and paralegal Claudia Yoshonis’ fees are $225 reflecting .9 hours at
  9   rate of $250 per hour. The invoice also includes $1405.35 in costs and
 10   disbursements related to the ongoing litigation.
 11         7.     As detailed in its invoice, between April 2019 and March 1, 2020,
 12   WGG spent a considerable amount of time preparing a Motion for Sale of Property,
 13   and defending contentious litigation against the Receivership Entity. WGG filed
 14   motions, complaints, cross-complaints, and answers in three different courts to
 15   address multi-party claims by and against the Receivership Entity. WGG also
 16   responded to written discovery requests and motions filed against the Receivership
 17   Entity. All of this work was necessary to preserve the Receivership Entity’s interest
 18   in the Oceanside Property and its claims against Ayman Haddadin.
 19         8.      WGG also assisted me with mediating these contentious disputes
 20   which resulted in a settlement that ended the litigation, and provides for a $1
 21   million payment from the sale of the Oceanside Property.
 22         9.     The total amount requested in this fee application for all of the
 23   professional services provided over the last 18 months is $161,293.45. This
 24   represents less than 10% of the $1,758,911 distributions made to date to the
 25   investors. In addition, I expect to be able to collect more funds from the settlement
 26   of the litigation which will be distributed to investors. Thus, I expect that when this
 27   case is completed, the total professional fees will be approximately 5% of the total
 28   distributions to investors. These professional services have, therefore, provided
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  1   value to the Receivership Entity and its investors. I respectfully request that the
  2   Court approve payment of these fees.
  3         I declare under penalty of perjury under the laws of the United States that the
  4   foregoing is true and correct.
  5         Executed this 1st day of June, 2020.
  6

  7                                           ______________________
  8                                           Faith A. Devine
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                                                                                Case No. 8:18-cv-02220
                                                         DEVINE DECL. ISO INITIAL FEE APPLICATION
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                               EXHIBIT
                                 A
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                                    #:3272

                                                                                       INVOICE



INVOICE NUMBER: 100
INVOICE DATE: JUNE 01, 2020

 FROM: Fraud Law Group
       A Professional Law Corporation
       5857 Owens Avenue, Ste. 300
       Carlsbad, CA 92008
    TO: Act Global Investments
        5857 Owens Avenue
        Suite 300
        Carlsbad, CA 92008


DATE        TIMEKEEPER    DESCRIPTION                                         HOURS     RATE          AMOUNT
                          SERVICES
JAN-02-19   FAD           review court pleadings and other documents re        1.50   $275.00           $412.50
                          case; tc w/ bank to set up receivership account;
                          e-mails w/ counsel for parties; prepare turnover
                          letter
JAN-04-19   FAD           TC w/ investors Andrew and Steven Heimbold;          1.00   $275.00           $275.00
                          review e-mails and documents provided by the
                          Heimbolds
JAN-07-19   FAD           attend meeting w/ Arsenault and counsel to           5.00   $275.00         $1,375.00
                          discuss transition, pending litigation and
                          turnover of records; review documents and
                          e-mails to prepare for meeting; travel to Orange
                          County (not billed); TC w/ Searles re case status
                          and meeting w. Arsenault
JAN-08-19   FAD           respond to emails re turnover of documents by        0.80   $275.00           $220.00
                          Arsenault; TC w/ investor Andrew Heimbold
JAN-08-19   TDF           Review SEC Complaint, P&A, Preliminary               1.30   $250.00           $325.00
                          Injunction Order and Declarations on ACT Global
                          Investments case.
JAN-09-19   FAD           TC w/ Plaintiffs counsel re Ocean Palms              2.00   $275.00           $550.00
                          litigation; review records relating to Oceanside
                          litigation and funds loaned to Haddadin car
                          dealerships; e-mails to Shulman and Arsenault
                          re turnover of documents and assets of ACT
JAN-10-19   FAD           review documents provided by Arsenault;              1.20   $275.00           $330.00
                          e-mails re 5 Star homes payments to ACT;
                          review Cap360 servicing agreements; prepare
                          action plan; e-mails to Cook and France re case
                          status and action plan




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DATE        TIMEKEEPER   DESCRIPTION                                         HOURS     RATE          AMOUNT
JAN-15-19   FAD          TC w/ J. Zmyslo re membership interest in AJF;       1.00   $275.00           $275.00
                         review and collect documents regarding assets
                         of ACT and AJF; TC w/ Bill Messenger re
                         economic feasibility of Oceanside project; e-mail
                         records to Messenger for review and analysis
JAN-16-19   FAD          meeting w/ Bridgid Cook and T France re case         3.00   $275.00           $825.00
                         status and next steps for marshaling assets
JAN-16-19   BC           meeting w/ FAD and TDF re Receivership tasks         3.00   $125.00           $375.00
                         to be completed and administrative issues;
                         review case materials
JAN-16-19   TDF          Meet with F. Devine (SEC Receiver) and B. Cook;      3.00   $250.00           $750.00
                         re: discuss and strategize SEC Receivership.
JAN-18-19   FAD          e-mails w/ Eric Goodrich (Plaintiffs Counsel) re     0.50   $275.00           $137.50
                         Oceanside litigation; review Ocean Palms
                         Operating Agreement
JAN-21-19   FAD          emails to Goodrich and F. Contreras re               0.50   $275.00           $137.50
                         stipulation to extend time periods in Ocean
                         Palms operating agreement; revise proposed
                         stipulation
JAN-21-19   BC           review and analysis of case materials and other      3.20   $125.00           $400.00
                         documents provided by Receiver
JAN-22-19   FAD          conf w/ B Cook re case status and forensic           0.50   $275.00           $137.50
                         analysis
JAN-22-19   BC           conf call w/ Receiver re tasks to be completed       0.50   $125.00               $62.50
JAN-23-19   FAD          TC w/ Heimbold's and their counsel M. Wallin re      0.50   $275.00           $137.50
                         case status and pending litigation
JAN-24-19   FAD          emails to Shulman re 5 Star payments and             1.00   $275.00           $275.00
                         Capital 360 servicing agreement; review 5 Star
                         payment spreadsheets; review Capital 360
                         servicing agreements
JAN-25-19   FAD          review and analysis of materials re Oceanside        2.00   $275.00           $550.00
                         property; review operating agreements; review
                         and analysis of Oceanside auto flooring lines;
                         conf w/ Bill Messenger re economics of
                         Oceanside property; review discovery produced
                         by Plaintiff counsel to Union Home loan; e-mails
                         to Shulman and Contreras re same
JAN-28-19   FAD          emails and TC w/ Wallin re Heimbold v.               0.50   $275.00           $137.50
                         Arsenault
JAN-29-19   BC           conf call w/ SEC counsel and Receiver to provide     1.00   $125.00           $125.00
                         status update; follow up all w/ Receiver to
                         review on-going tasks
JAN-29-19   FAD          TC w/ SEC counsel Searles and Bowers; follow         1.20   $275.00           $330.00
                         up call w. B. Cook re next steps for forensic
                         analysis; review and respond to email from
                         Shulman re Oceanside litigation




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DATE        TIMEKEEPER   DESCRIPTION                                         HOURS     RATE          AMOUNT
JAN-30-19   FAD          TC w/ Wallin re case status and Heimbold v.          2.20   $275.00           $605.00
                         Arsenault litigation; review promissory notes
                         between ACT and Arsenault; TC and emails to
                         Union Home loans re AJF Development
                         Receivership; emails to Shulman re Heimbold's
                         interest in Oceanside property' TC w// Don
                         Searles
JAN-31-19   FAD          TC w/ Shulman re Arsenault personal loan and         1.00   $275.00           $275.00
                         Cap 360; meeting w/ AKC re ACT and AJF
                         bookkeeping and financial reporting issues; TC
                         w/ B. Messenger re Oceanside entitlements
JAN-31-19   BC           review and analysis of records in drop box           4.00   $125.00           $500.00
                         folders provided by Defendant; create victim
                         analysis spreadsheet; conf. call w. Receiver
JAN-31-19   AKC          meeting w/ Receiver to discuss bookkeeping and       0.50    $50.00               $25.00
                         accounting issues for ACT and AJF
FEB-01-19   FAD          TC and emails to Fuscoe Engineering re               1.20   $275.00           $330.00
                         Oceanside property; TC w/ D/Angelo
                         consultants re work done on Oceanside
                         property and future work to be done; TC w/ SEC
                         counsel re case status; e-mail to Plaintiffs
                         counsel re Oceanside litigation
FEB-04-19   FAD          Review mail from 5 Star re January payment           0.10   $275.00               $27.50
FEB-04-19   AKC          update monthly receiver financial records            0.50    $50.00               $25.00
FEB-05-19   BC           Review records from Heimbold re Frost                2.00   $125.00           $250.00
                         investment; TC w/ SEC counsel K. Bowers
FEB-06-19   FAD          TC w/ D. Searles and K. Bowers re Arsenault          0.40   $275.00           $110.00
                         promissory note and case status; review and
                         respond to e-mails from Searles
FEB-06-19   BC           TC w/ B. Weiss re Frost asset: forwarded appt.       1.20   $125.00           $150.00
                         document; obtained and analyzed financial
                         information from SEC re ACT Global
FEB-07-19   FAD          review and respond to emails from J. Zmyslo re       0.20   $275.00               $55.00
                         Oceanside litigation
FEB-08-19   TDF          T/c conference w/ F. Devine; re: ACT                 1.00   $250.00           $250.00
                         Receivership.
FEB-11-19   FAD          meet w. B. Cook re investor letters, proposed        2.00   $275.00           $550.00
                         distribution plan for investors and Frost VP fund
                         asset; conf call w. B. Cook and B. Weiss re Frost
                         VP fund and ability to liquidate ACT membership
                         interest; review investor communications from
                         Frost; e-mail to B. Weiss re same
FEB-11-19   BC           meeting w/ Receiver regarding investors and          1.50   $125.00           $187.50
                         Frost investment; Conf call w/ Weiss and
                         Receiver re recovery from Frost asset
FEB-11-19   TDF          T/c conference w/ F. Devine; re: meeting w/ SEC      1.00   $250.00           $250.00
                         and Utah law firm.
FEB-12-19   FAD          prepare for and attend settlement meeting w/         5.00   $275.00         $1,375.00
                         SEC counsel and Plaintiff's counsel re pending
                         Oceanside litigation;

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DATE        TIMEKEEPER   DESCRIPTION                                         HOURS     RATE          AMOUNT
FEB-12-19   TDF          Meeting w/ SEC attorneys and Utah law firm re        4.60   $250.00         $1,150.00
                         Oceanside litigation
FEB-13-19   FAD          TC w/ Shulman and Contreras re case status and       1.00   $275.00           $275.00
                         potential offer for purchase of ACT's assets;
                         review email from Heimbold; TC w/ B. Cook re
                         investor letters and case strategy; TC w. Searles
                         re potential purchase offer; review and respond
                         to email from J. Zmyslo
FEB-13-19   BC           review of financial spreadsheets and draft           2.50   $125.00           $312.50
                         letters to investors re claims
FEB-15-19   TDF          Review and analyze loan agreements between 5         1.50   $250.00           $375.00
                         Star Mobile Home and Craig Arsenault. Begin
                         preparation of Demand Letters for amounts
                         owed. Email to Receiver.
FEB-18-19   TDF          Review Claim Procedures for preparation of           1.20   $250.00           $300.00
                         interim distribution report. Continue drafting of
                         Demand Letters to 5 Star, Craig Arsenault and
                         Atlas Capital Management.
FEB-19-19   FAD          TC w/ investor Heimbold re case status;              1.00   $275.00           $275.00
                         potential credit bid for Frost Fund and
                         Oceanside litigation; review and respond to
                         e-mail from investor Donner; emails to Eric
                         Goodrich re Oceanside litigation
FEB-20-19   FAD          respond to e-mail from Zmyslo re potential           2.00   $275.00           $550.00
                         purchase of Oceanside property; TC w/ investor
                         Wuertz re clawback claim; TC w/ Colliers
                         International re listing Oceanside property for
                         sale; review demand letters to 5Star, Arsenault
                         and Atlas; prepare draft status report and
                         accounting
FEB-20-19   AKC          review Quickbooks re 5 Star asset; prepare           1.00    $50.00               $50.00
                         report for Receiver and T. France
FEB-20-19   TDF          T/c w/ Faith Devine; re: emails w/ Eric Goodrich     0.80   $250.00           $200.00
                         concerning OPV. Discuss Demand letters to 5
                         Star, Craig Arsenault and Atlas Capital
                         Management. Finish Demand Letters.
FEB-21-19   FAD          continue preparation of status report; TC w/ SEC     2.50   $275.00           $687.50
                         attorney Bowers re investor funds and
                         Oceanside litigation; TC w/ F. Contreras re
                         Zmyslo Letter of Intent; 5 Star repayment; and
                         pending Oceanside litigation issues; TC w/ M.
                         Connelly re Union Home loan and potential
                         resolution
FEB-22-19   FAD          review correspondence from real estate broker        0.20   $275.00               $55.00
                         re Oceanside property; telephone call with
                         broker to discuss environmental issues
FEB-25-19   FAD          review and respond to e-mails from Zmyslo re         0.30   $275.00               $82.50
                         potential purchase of property; review and
                         respond to e-mails from Contreras re pending
                         litigation issues
FEB-26-19   BC           Respond to investors emails and review               1.00   $125.00           $125.00
                         documents provided

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DATE        TIMEKEEPER   DESCRIPTION                                          HOURS     RATE          AMOUNT
FEB-27-19   FAD          TC w/ Contreras re OPV litigation; consent            0.50   $275.00           $137.50
                         judgment re Arsenault and Atlas and potential
                         LOI by Zmyslo
FEB-28-19   TDF          Review Receiver's Status Report and Accounting.       1.50   $250.00           $375.00
                         Begin drafting of Memorandum of Points and
                         Authorities in Support of Receiver's Motion for
                         Approval of Procedures for Final Determination
                         of Investor Claims and First Interim Distribution
                         to Investors.
MAR-04-19 FAD            revise and finalize status report; conf call w/       0.90   $275.00           $247.50
                         attorney Wallin re Heimbold claims;
MAR-05-19 FAD            TC w/ Goodrich re potential settlement of OPV         0.50   $275.00           $137.50
                         litigation; e-mails to Goodrich re brokers opinion
                         of value; review LOI from Zmyslo re sale of
                         property
MAR-05-19 TDF            Continue drafting of Memorandum of Points             0.50   $250.00           $125.00
                         and Authorities in Support of Receiver's Motion
                         for Approval of Procedures for Final
                         Determination of Investor Claims and First
                         Interim Distribution to Investors. T/c w/ B. Cook;
                         re: status of accounting and investor list.
MAR-06-19 FAD            review and respond to emails re Oceanside             0.50   $275.00           $137.50
                         property; TC w/ B. Cook re investor claim
                         spreadsheet
MAR-06-19 BC             TC w/ SEC counsel K. Bowers; TC w/ investor           5.00   $125.00           $625.00
                         Heimbold; Review and analysis of investor
                         records; reconcile investor records w/ bank
                         records
MAR-07-19 FAD            review and revise consent judgement for ACT           0.20   $275.00               $55.00
                         Global; email to Searles re same
MAR-07-19 BC             several TC w/ investors; continued review and         5.00   $125.00           $625.00
                         reconciliation of financial records to determine
                         claims amounts; TC w/ AKC re records in ACT
                         Quickbooks
MAR-07-19 AKC            review and analysis of ACT Quickbook records;         1.00    $50.00               $50.00
                         TC w/ BC re reconciliation of investors records
                         w/ Quickbooks
MAR-07-19 TDF            T/c w/ B. Cook; re: Discuss accounting and            0.30   $250.00               $75.00
                         investor list needed for court filings.
MAR-08-19 FAD            TC w. Contreras re pending litigation by ACT          0.50   $275.00           $137.50
                         against Haddadin and filing deadlines; review
                         broker opinion of value re Oceanside and
                         proposed listing agreement; TC w/ real estate
                         broker re same; review and respond to emails re
                         Oceanside property
MAR-11-19 FAD            conf w/ B Cook re investor claims; review and         0.50   $275.00           $137.50
                         respond to emails re Oceanside property;
MAR-11-19 BC             continued review and financial analysis to            3.50   $125.00           $437.50
                         determine amount of investor claims
MAR-12-19 FAD            TC w/ potential buyer re Oceanside property;          0.20   $275.00               $55.00

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DATE      TIMEKEEPER   DESCRIPTION                                         HOURS     RATE          AMOUNT
MAR-12-19 BC           Respond to A. Heimbold and SEC re investor           1.00   $125.00           $125.00
                       claims; update loss chart w/ Geisselman
                       information
MAR-13-19 FAD          review and respond to email from Searles re          0.10   $275.00               $27.50
                       case status and consent judgment
MAR-13-19 BC           Telephone calls w/ Heimbold and SEC; left            2.00   $125.00           $250.00
                       message for Cory Jones; conducted financial
                       analysis for investor claims
MAR-14-19 BC           prepared updated charts; reviewed bank               6.00   $125.00           $750.00
                       statements; spoke w/ investors, reconciled loss
                       figures
MAR-15-19 FAD          prepare and file notice of stay of Orange County     1.00   $275.00           $275.00
                       lawsuit filed by ACT against Haddadin;review
                       correspondence from Goodrich re Ocean Palms
                       dispute; review and respond to e-mail from
                       Zmyslo re Oceanside property; review marketing
                       materials prepared by real estate broker for
                       Oceanside property
MAR-18-19 BC           financial analysis and finalize investor             2.00   $125.00           $250.00
                       spreadsheets
MAR-18-19 TDF          Finalize the drafting of Memorandum of Points        2.50   $250.00           $625.00
                       and Authorities in Support of Receiver's Motion
                       for Approval of Procedures for Final
                       Determination of Investor Claims and First
                       Interim Distribution to Investors. Prepare Notice
                       of Receiver's Motion for Approval of Procedures
                       for Final Determination of Investors Claims and
                       First Interim Distribution of Investors. Prepare
                       Procedures and Notices.
MAR-19-19 FAD          TC w/ investor Monroe and follow up e-mail; TC       0.60   $275.00           $165.00
                       w/ Contreras re Zmyslo offer and pending
                       litigation issues re Haddadin and Ocean Palms
MAR-19-19 BC           review Quickbooks records provided by AKC re         1.00   $125.00           $125.00
                       Frost; finalize financials on spreadsheets
MAR-19-19 AKC          review and prepare Quickbook reports for BC          1.00    $50.00               $50.00
MAR-20-19 BC           meeting w/ T. France and Receiver re final           2.00   $125.00           $250.00
                       investors claims spreadsheets and Motion for
                       Distribution; Review draft Motion for
                       Distribution
MAR-20-19 TDF          Meeting w/ Receiver F. Devine and B. Cook. Go        2.00   $250.00           $500.00
                       over prepared procedures. Discuss needed
                       changes to include explanation of Frost and
                       O'side land investors. Go over investor list and
                       exhibits for inclusion in Procedures Motion.
MAR-21-19 FAD          meeting w/ France and Cook re investor claims        2.00   $275.00           $550.00
                       analysis; distribution motion; and general
                       receivership issues; review and respond to
                       emails from investors and Oceanside property
MAR-25-19 FAD          prepare for and attend interview requested by        2.00   $275.00           $550.00
                       FBI and IRS re criminal investigation of related
                       parties to ACT Global

                                             Page 6 of 11                             Exhibit A, pg. 6
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DATE        TIMEKEEPER   DESCRIPTION                                         HOURS     RATE          AMOUNT
MAR-25-19 BC             meeting w/ Receiver and IRS and FBI re fraud         2.00   $125.00           $250.00
                         and tax evasion investigation
MAR-27-19 FAD            review and respond to emails from E. Goodrich        0.50   $275.00           $137.50
                         and F. Contreras re Oceanside property; TC and
                         emails to real estate broker re marketing
                         Oceanside property
MAR-28-19 FAD            TC w/ A. Heimbold re case status; email to K.        0.30   $275.00               $82.50
                         Bowers re case status
MAR-29-19 TDF            Review the analysis of ACT investments and           4.00   $250.00         $1,000.00
                         prepare changes to Memorandum of Points and
                         Authorities in Support of Receiver's Motion for
                         Approval of Procedures for Final Determination
                         of Investor Claims and First Interim Distribution
                         to Investors. Prepare additional explanation
                         concerning Prepare corrections and additions
                         concerning Frost Ventures and Oceanside
                         property. Prepare Order. T/c w/ Receiver; re:
                         strategy on Frost Ventures and Oceanside
                         property investors.
APR-03-19   FAD          review and respond to emails from Shulman            1.00   $275.00           $275.00
                         regarding Oceanside property; TC w/ broker re
                         status of marketing property; email to Goodrich
                         re mediation proposal
APR-04-19   FAD          review and revise distribution motion; conf call     0.80   $275.00           $220.00
                         w/ Shulman and broker re Oceanside property
                         marketing issues
APR-04-19   AKC          update monthly receiver financial records            0.50    $50.00               $25.00
APR-04-19   TDF          T/c w/ F. Devine; re: discuss draft of documents     0.20   $250.00               $50.00
                         submitted for review. discuss changes and
                         current developments on Oceanside property.
APR-06-19   TDF          T/c w/ F. Devine; re: discuss draft of documents     0.50   $250.00           $125.00
                         submitted for review. discuss changes and
                         current developments on Oceanside property.
APR-08-19   TDF          Follow up with investor spreadsheets. Draft to       1.80   $250.00           $450.00
                         exhibits and attach to Memorandum of Points
                         and Authority for Interim Distributions. Prepare
                         final reports and procedures for distribution to
                         parties.
APR-09-19   FAD          email to Goodrich re mediation and tax returns       0.20   $275.00               $55.00
                         for OPV; emails to Contreras re Zmyslo offer to
                         purchase Oceanside property
APR-10-19   TDF          Review email from C. Arsenault; re: Schedule         0.30   $250.00               $75.00
                         "B" issue. Research spreadsheets prepared and
                         prepare new Schedule "B" for submission.
APR-11-19   FAD          emails to Contreras re Zmyslo offer; assemble        2.00   $275.00           $550.00
                         materials for outside litigation counsel re
                         Haddadin and Oceanside litigation; TC w/
                         outside litigation counsel re retention and case
                         overview ; TC w/ M. Wallin re Heimbold claims
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DATE        TIMEKEEPER   DESCRIPTION                                        HOURS     RATE          AMOUNT
APR-17-19   FAD          review and respond to mail from C. Thacker re       0.30   $275.00               $82.50
                         distribution; review and respond to email from
                         Contreras re Oceanside property
APR-18-19   FAD          telephone conference w/o outside litigation         2.00   $275.00           $550.00
                         counsel re Oceanside litigation status and
                         strategy; assemble records and prepare draft
                         declaration to support motion for approval of
                         sale of Oceanside property and expansion of
                         receivership
APR-18-19   TDF          Prepare final documents for e-filing. Review and    1.50   $250.00           $375.00
                         adjust documents for e-filing. Multiple calls w/
                         F. Devine; re: final document submission.
APR-22-19   FAD          review Purchase Agreement prepared by               0.20   $275.00               $55.00
                         broker; email to counsel re same
APR-30-19   FAD          review and revise proposed court order re           0.50   $275.00           $137.50
                         distribution; prepare notice of lodging and
                         submit to court for signature; TC w/ outside
                         counsel re Oceanside sale
MAY-01-19 TDF            Obtain Order. Prepare letters to ACT investors      1.50   $250.00           $375.00
                         and send all procedural documents.
MAY-03-19 FAD            prepare documents and summary for counsel to        1.00   $275.00           $275.00
                         support motion for sale of Oceanside property;
                         TC w/ Moynihan and Golden re motion and
                         meet and confer discussions with other
                         stakeholders
MAY-07-19 FAD            TC w/ investor C. Monroe                            0.30   $275.00               $82.50
MAY-08-19 FAD            review settlement proposal from Haddadin re         0.30   $275.00               $82.50
                         Oceanside litgation; email to counsel re same;
                         TC w/ investor Heimbold
MAY-09-19 FAD            review draft motion re sale of property; TC w/      1.00   $275.00           $275.00
                         Golden and Moynihan re Oceanside sale; TC w/
                         SEC counsel re Oceanside sale and Haddadin
                         settlement proposal; emails to real estate
                         broker re Oceanside sale
MAY-20-19 FAD            prepare and file notice of distribution; review     0.90   $275.00           $247.50
                         final declaration re motion to sell Oceanside
                         property; TC w/ Moynihan re sale motion
JUN-04-19   FAD          update records for Act Receivership                 0.50   $275.00           $137.50
JUN-04-19   AKC          update financial records for Act Global             0.50    $50.00               $25.00
JUN-12-19   FAD          review draft motion to expand receivership;         0.20   $275.00               $55.00
                         review and revise declaration
JUN-19-19   FAD          TC w/ S. Searles re pending motions; review         0.30   $275.00               $82.50
                         motion to lift stay; emails to counsel re
                         opposition to request to continue sale hearing
JUN-24-19   FAD          review opposition to motion to lift stay; review    0.50   $275.00           $137.50
                         and sign declaration; TC w/ Searles re status
JUL-15-19   FAD          travel to and attend court hearing re Oceanside     2.50   $275.00           $687.50
                         property (travel time billed at 50% of actual)
AUG-05-19 AKC            update financial records for Act Global             0.50    $50.00               $25.00

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DATE        TIMEKEEPER   DESCRIPTION                                        HOURS     RATE          AMOUNT
AUG-08-19 FAD            prepare disbursements to investors; prepare         0.20   $275.00               $55.00
                         and file report to court re same
AUG-16-19 FAD            review emails from BTJD et al re settlement of      0.50   $275.00           $137.50
                         Oceanside litigation; TC w/ Golden re settlement
                         and potential bankruptcy filing; prepare
                         settlement proposal to be sent to BTJD
AUG-19-19 FAD            email to B. Weiss re transfer of ownership of       0.20   $275.00               $55.00
                         Frost Fund to individual investors
AUG-21-19 FAD            review settlement proposals from BTJD               0.20   $275.00               $55.00
AUG-26-19 FAD            review and respond to inquiry from M. Wallin re     0.20   $275.00               $55.00
                         possible purchase of Arsenault trust deed
AUG-27-19 FAD            review and revise settlement proposal re            0.10   $275.00               $27.50
                         Oceanside litigation
SEP-09-19   FAD          review and respond to email from Arsenault re       0.10   $275.00               $27.50
                         pending lawsuit and mail for AJF Development
SEP-11-19   FAD          review and verify written discovery responses re    0.20   $275.00               $55.00
                         Oceanside litigation
SEP-18-19   FAD          TC w/ Searles re status conference; review          0.30   $275.00               $82.50
                         stipulation re continuance; emails to Searles re
                         same
SEP-25-19   FAD          email to Shulman re Arsenault and Atlas             0.10   $275.00               $27.50
                         payment obligations
SEP-26-19   FAD          respond to information inquiry from A.              0.30   $275.00               $82.50
                         Heimbold re 5 star loan; TC w/ A. Heimbold re
                         case status
SEP-27-19   FAD          review and respond to letter from Shulman re 5      0.20   $275.00               $55.00
                         Star repayment
SEP-28-19   FAD          review and respond to email from Wallin re          0.10   $275.00               $27.50
                         purchase of trust deed
SEP-30-19   FAD          TC w/ Searles and Bowers re 5 Star repayment        0.20   $275.00               $55.00
                         proposal
OCT-06-19   FAD          review and revise draft answer to OPV               0.90   $275.00           $247.50
                         complaint; review and revise draft
                         cross-complaint re claims against Hadadin,
                         Arsenault, Atlas and Union; emails to counsel re
                         same
OCT-07-19   AKC          update financial records for ACT Global             0.50    $50.00               $25.00
OCT-30-19   FAD          travel to and attend mediation in Orange County     8.00   $275.00         $2,200.00
                         re Oceanside litigation;review briefs submitted
                         by the parties (travel time billed at 50%)
NOV-12-19 FAD            review and respond to emails re settlement and      0.30   $275.00               $82.50
                         Arsenault re payment plan
NOV-13-19 FAD            TC w/ Don Searles and Kelly Bowers re proposed      0.50   $275.00           $137.50
                         settlement terms and case status
NOV-18-19 FAD            review and respond to emails from counsel re        0.50   $275.00           $137.50
                         settlement of Oceanside litigation; tc w/ Golden
                         re same

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DATE        TIMEKEEPER   DESCRIPTION                                          HOURS     RATE          AMOUNT
NOV-19-19 FAD            meeting w/ Arsenault re repayment of personal         1.00   $275.00           $275.00
                         loan and distribution plan for investors; attend
                         to administrative matters of receivership
                         involving receipt and payment of funds to
                         investors; emails to investors
NOV-22-19 FAD            prepare and file notice of distribution               0.20   $275.00               $55.00
DEC-09-19   FAD          travel to and attend status conference in Santa       3.50   $275.00           $962.50
                         Ana (travel billed at 50%);review and revise
                         proposed settlement agreement; emails w/
                         Moynihan re same; review and respond to
                         correspondence from Shulman re 5 Star
                         payments
JAN-06-20   FAD          prepare and file status report re settlement and      1.00   $275.00           $275.00
                         proposed order re status conference; emails to
                         counsel re settlement status
JAN-06-20   AKC          update Quickbooks for ACT Global; prepare             0.50    $50.00               $25.00
                         spreadsheet of investors returns
JAN-08-20   FAD          review and respond to emails from E. Goodrich         0.30   $275.00               $82.50
                         re settlement issues; respond to request from
                         FBI for status of investor distributions
JAN-16-20   FAD          review final settlement agreement; email to           0.20   $275.00               $55.00
                         counsel re same
JAN-21-20   FAD          travel to and attend status conference in Santa       3.50   $275.00           $962.50
                         Ana (travel billed at 50%)
JAN-23-20   FAD          travel to Santa Ana (travel time billed 50%) and      3.50   $275.00           $962.50
                         attend status hearing re settlement and status
                         of receivership; emails to investors Thacker and
                         Heimbold re status of distributions; emails to
                         counsel re finalizing settlement
JAN-29-20   FAD          review and sign deed; emails to counsel re same       0.20   $275.00               $55.00
MAR-16-20 FAD            prepare distributions to investors; email to C.       0.50   $275.00           $137.50
                         Thacker re status; TC w/ investor Monroe
MAR-18-20 FAD            review proposed purchase offer for Oceanside          0.20   $275.00               $55.00
                         property
MAR-20-20 FAD            review and respond to emails from A Heimbold          0.10   $275.00               $27.50
MAR-24-20 FAD            prepare and file notice of distribution; email to     0.20   $275.00               $55.00
                         Arsenault re Frost investments
MAY-01-20 FAD            review Frost transfer agreements; emails to           0.50   $275.00           $137.50
                         Arsenault, Heimbold and Weiss re same;
MAY-04-20 FAD            respond to status inquiry by investor Donner          0.10   $275.00               $27.50
MAY-05-20 FAD            respond to status inquiry from investor Thacker       0.10   $275.00               $27.50
MAY-21-20 FAD            email to E. Goodrich re status of sale of property    0.10   $275.00               $27.50
MAY-27-20 AKC            update quickbooks; review fund accounting             1.00    $50.00               $50.00
                         prepared by Receiver




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                                                                                           INVOICE NUMBER: 100


DATE         TIMEKEEPER   DESCRIPTION                                          HOURS      RATE          AMOUNT
MAY-29-20 FAD             review accounting of Receivership; prepare fund        4.00   $275.00         $1,100.00
                          accounting report; prepare and file status
                          report; review receivership professional bills;
                          draft fee application and supporting declaration
MAY-31-20 FAD             revise fee application; prepare for efiling            1.50   $275.00           $412.50
                          EXPENSES
FEB-21-19    TDF          (Postage) USPS-Certified Mail (3)-Atlas Capital                                     $20.55
                          Management, 5 Star and Craig Arsenault
MAR-19-19 FAD             (Attorney Service) filing fees for ACT v. Haddadin                                  $12.20
                          et al
MAR-20-19 FAD             (Attorney Service) filing fees for ACT v. Haddadin                                  $12.20
MAY-01-19 TDF             (Postage) ACT Investor letters- Postage (9 X                                         $5.85
                          $.65)
MAY-06-19 FAD             (Attorney Service) delivery of required courtesy                                $159.20
                          copy of distribution motion to chambers
JUL-15-19    FAD          OC court                                                                             $4.00
JUL-15-19    FAD          (Mileage) travel to Santa Ana for court hearing                                     $51.00
                          (100 miles roundtrip)
OCT-30-19    FAD          (Mileage) travel to mediation in Orange County                                      $45.60
DEC-09-19    FAD          (Mileage) roundtrip mileage Carlsbad to Santa                                       $55.00
                          Ana courthouse
JAN-21-20    FAD          (Mileage) mileage roundtrip to Santa Ana from                                       $60.00
                          Carlsbad
JAN-23-20    FAD          (Mileage) mileage from Carlsbad to Santa Ana                                        $60.00
                          Courthouse
JAN-29-20    FAD          (Document Fees) notary fee for AJF Deed                                             $15.00
                          SUMMARY
                          Total amount of services                                                    $41,772.50
                          Total amount of expenses                                                        $500.60
                          Total hours for this invoice                         187.80
                          Total amount of this invoice                                                $42,273.10

ACCOUNT INFORMATION
Prior account balance                                                                                          $0.00
Invoice 100 JUN-01-2020                                                                               $42,273.10
Current account balance                                                                               $42,273.10


                                     AMOUNT DUE: $42,273.10




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   .$0 $1$/<6,62)&/$,06$1'5(/$7,1*                 #                 

   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                
               6(77/(0(17352326$/

                                                                     Exhibit B , pg. 2
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 21 of 39 Page ID
3$*(                              #:3286
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

   .$0 &217,18('5$)7,1*027,21)256$/(               #                
               2)5($/3523(57<
   .$0 &255(6321'(1&(72%8<(5 6&2816(/               #                 
               5(*$5',1*6$/(7(506
   .$0 $1$/<6,65(*$5',1*$66,*10(172)                #                 
               &/$,06$1''()(16(6
               &255(6321'(1&(72-*2/'(1
               5(*$5',1*6$0(
   .$0 '5$)7027,21)256$/(2)5($/                   #            
               3523(57<
   .$0 &$//:,7+&/,(175(                            #                

   .$0 '5$)7027,21)256$/(2)5($/                   #                
               3523(57<
   .$0 5(9,6('(&/$5$7,21,168332572)                #                
               027,21)256$/(2)5($/3523(57<
   &0< 5(9,(:$1'$1$/<6,62)38%/,&                   #                
               5(&25'66($5&+)259$5,286(17,7,(6
                '(9,1($&7
   .$0 '5$)7'(&/$5$7,21,168332572)5($/            #                
               3523(57<
   .$0 7(/(3+21(&$//:,7+)&2175(5$6                #                
               5(*$5',1*6$/(7(506
   .$0 &255(6321'(1&(:,7+&/,(17                      #                 
               5(*$5',1*
   .$0 &217,18('5$)7,1*027,215(6$/(2)             #                
               5($/3523(57<$1'6833257,1*
               '(&/$5$7,21
   .$0 &255(6321'(1&(:,7+&<26+21,6                 #                 
               5(*$5',1*/,(16($5&+
   .$0 &255(6321'(1&($021*67%8<(5 6                  #                 
               &2816(/$1'&/,(17

   .$0 '5$)7758-,//2'(&/$5$7,21,1                   #                
               68332572)6$/(027,21
   .$0 7(/(3+21(&$//:,7+&758-,//2                 #                
               5(*$5',1*'(&/$5$7,215(9,6(
               '(&/$5$7,21
   .$0 5(6($5&+5(                                    #                

   .$0 5(9,6(758-,//2'(&/$5$7,21,1                  #                 
               68332572)027,21726(//5($/
               3523(57<
   .$0 027,21)2526&5(*$5',1*                        #            
               5(&(,9(56+,3
   -,* $1$/<6,62)53,668(6                           #                
   .$0 &21)(5:,7+-*2/'(15(*$5',1*239             #                
               5(&(,9(56+,3

                                                                     Exhibit B , pg. 3
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 22 of 39 Page ID
3$*(                              #:3287
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

   .$0 '5$)7027,21)2526&5(*$5',1*                  #                
               5(&(,9(56+,3
   .$0 7(/(3+21(&21)(5(1&(:,7+-*2/'(1             #                
               $1')&2175(5$65(6$/(7(506
   .$0 $1$/<6,65(*$5',1*6$/(7(506                   #                 
   .$0 ),1$/,=(027,21)256$/()25                    #                
               &,5&8/$7,21
   .$0 5(9,6(027,21)2525'(5726+2:                 #            
               &$86(5(5(&(,9(56+,3
   .$0 '5$)7'(&/$5$7,21,168332572)                 #                
               027,21)2526&
   .$0 &255(6321'(1&(7281,21+20(                    #                 
               &2816(/$1'6(&5(*$5',1*'5$)72)
               027,21726(//
   .$0 &21)(5:,7+-*2/'(1$1')'(9,1(             #                
               5(*$5',1*
   .$0 $1$/<6,65(*$5',1*6$/(7(506                  #                
               &255(6321'(1&(:,7+)'(9,1(

   .$0 &21)(5:,7+-*2/'(15(*$5',1*6$/(            #                 
               2)3523(57<
   -,* $1$/<6,6675$7(*<5(6$/(2)                    #                
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   .$0 &$//:,7+-*2/'(1 )'(9,1(                 #                

   .$0 &255(6321'(1&(72%8<(5 6&2816(/               #                
               5(*$5',1*6$/(
   .$0 &21)(5(1&(&$//:,7+)&2175(5$6               #                
               5(*$5',1*6$/(7(506
   .$0 &21)(5:,7+-*2/'(15(*$5',1*6$/(            #                
               7(506
   .$0 '5$)7&255(6321'(1&(72%8<(5 6                 #                 
               &2816(/5(*$5',1*6$/(
   .$0 &21)(5(1&(&$//:,7+)&2175(5$6               #                
               5(*$5',1*6$/(
   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                
               $1$/<6,62)6$/($1'&/$,062)
               5(&(,9(56+,3
   .$0 5(9,6($1'),1$/,=(6$/(027,21                #            
               6833257,1*'(&/$5$7,216$1'
               (;+,%,76
   .$0 &21)(5:,7+)'(9,1(5(*$5',1*                 #                


   .$0 &21)(5:,7+&758-,//25(*$5',1*               #                 
               5(9,6,21672385&+$6($*5((0(17
               $1''(&/$5$7,21
   .$0 5(9,6($1'),1$/,=('(&/$5$7,21$1'             #                

                                                                     Exhibit B , pg. 4
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 23 of 39 Page ID
3$*(                              #:3288
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

               027,215(*$5',1*2))(572385&+$6(
   -,* 5(9,(:$1'5(9,6($3$                           #                
   .$0 5(9,(:$1'),1$/,=(027,21                     #                
               ,1&/8',1*83'$7,1*'(&/$5$7,21
               5()(5(1&(6),1$/,=,1*(;+,%,76
   .$0 %5,()5(6($5&+                                 #                

   .$0 $1$/<6,65(*$5',1*                             #                

   .$0 $1$/<6,62)385&+$6($*5((0(17$1'              #                
               327(17,$/&/$,065(9,6(027,21
               $&&25',1*/<
   .$0 &255(6321'(1&(72&/,(175(                    #                 

   .$0 9$5,286&255(6321'(1&(:,7+5($/                #                
               (67$7(%52.(55(*$5',1*5(9,6,216
               72385&+$6($*5((0(17
   .$0 ),1$/,=(027,21726(//)25),/,1*              #                
                 &225',1$7(:,7+9526$/(6
               5(*$5',1*),/,1* 
   .$0 7(/(3+21(&$//:,7+81,21+20( 6                #                
               &2816(/5(*$5',1*6$/(
   .$0 7(/(3+21(&$//)520+$''$',1 6                  #                
               &2816(/5(0((7$1'&21)(5)25
               5(48(67)25&217,18$1&(2)+($5,1*
               '$7(
   .$0 $1$/<6,65(*$5',1*&217,18$7,212)              #                
               +($5,1*'$7(&255(6321'(1&(72
               &/,(17
   .$0 )2//2:837(/(3+21(&$//:,7+81,21             #                 
               +20(&2816(/5(6$/(
   .$0 &255(6321'(1&()520&/,(17&21)(5              #                 
               :,7+-*2/'(15(6$0(
   .$0 '5$)75(63216(72+$''$',1 6                    #                 
               &2816(/5(*$5',1*5(48(67)25
               &217,18$1&(2)+($5,1*'$7(
   .$0 '5$)75(63216(7281,21+20( 6                  #                 
               &2816(/5(*$5',1*5(48(67)25
               &217,18$1&(2)+($5,1*'$7(
   -,* &21)(5(1&(5(239/,7,*$7,21237,216            #                 
   .$0 9$5,286&255(6321'(1&(5(*$5',1*                #                 
               6$/(2)5($/3523(57<&21)(5:,7+
               &/,(17
   .$0 &255(6321'(1&()520239&2816(/                 #                 
               5(*$5',1*5(385&+$6(
               &255(6321'(1&(72&/,(17

   .$0 &21)(5:,7+-*2/'(15(*$5',1*239             #                 

                                                                     Exhibit B , pg. 5
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 24 of 39 Page ID
3$*(                              #:3289
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

               &255(6321'(1&(
   .$0 &255(6321'(1&(72239&2816(/                   #                 
               5(*$5',1*0((7$1'&21)(5
   .$0 5(9,(:,1-81&7,2125'(5$1'5(6321'             #                 
               72239&2816(/ 6'(0$1'
   -,* 5(9,(:$1'5(9,6(,1-81&7,21'(0$1'             #                
   .$0 7(/(3+21(0((7$1'&21)(5:,7+-               #                 
               *2/'(1$1'239&2816(/5(*$5',1*
               352326('027,2172/,)767$<
   .$0 7(/(3+21(&$//:,7+0&211$//<                 #                 
               5(*$5',1*6$/(
   .$0 5(9,(:$1'$1$/<=(23326,7,21672               #                
               6$/(027,21
   .$0 5(9,(:$1'$1$/<=(23326,7,21672               #                
               6$/(027,21
   .$0 5(6($5&+5(*$5',1*                             #                
   .$0 &$//:,7+%8<(5 6&2816(/5(*$5',1*             #                
               6$/(
   .$0 &$//:,7+&/,(175(*$5',1*                     #                 

   .$0 '5$)7201,%865(3/<,168332572)               #                
               027,21726(//3523(57<
   .$0 &217,18('5$)7,1*201,%865(3/<,1              #            
               68332572)027,21726(//3523(57<
   .$0 '5$)7127,&(2)5(&(,9(56+,3                    #                 
   .$0 '5$)7'(9,1(6833/(0(17$/                       #                
               '(&/$5$7,21
   .$0 ),1$/,=(201,%865(3/<,168332572)            #            
               027,21726(//3523(57<
   .$0 &255(6321'(1&(72%8<(5 6&2816(/               #                 
               5(*$5',1*6$/($1$/<6,65(*$5',1*
               6$0(
   -,* 5(9,(:5(9,6(5(3/<                             #                
   .$0 9$5,286&255(6321'(1&(:,7+                     #                 
               &2816(/)25239$1'=0<6/2
               5(*$5',1*6$/(
   .$0 &21)(5:,7+-*2/'(15(*$5',1*6$/(            #                 
   .$0 &255(6321'(1&(:,7+&/,(17                      #                 

   .$0 5(9,6($1'),1$/,=(5(&(,9(56+,3                #            
               027,21$1'6833257,1*'(&/$5$7,21
   .$0 '5$)725'(521027,2172(;3$1'                 #                
               5(&(,9(56+,3
   .$0 &$//:,7+&/,(175(*$5',1*                      #                 

   .$0 &255(6321'(1&(72239&2816(/                   #                 
               5(*$5',1*+($5,1*
   .$0 &255(6321'(1&(72239&2816(/                   #                 

                                                                     Exhibit B , pg. 6
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 25 of 39 Page ID
3$*(                              #:3290
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

               5(*$5',1*),/,1*
   .$0 5(9,(:239 6027,21)255(/,())520             #                
               ,1-81&7,21
   .$0 &255(6321'(1&(:,7+%8<(5 6                     #                 
               &2816(/5(*$5',1*6$/(027,21
               &217,18$1&(
   -,* 5(9,(:2)5(/,())520,1-81&7,21                #                
   .$0 5(9,(:(;3$57($33/,&$7,2172                  #                 
               &217,18(+($5,1*
   .$0 $1$/<6,62)6(77/(0(172))(5                    #                
               5(*$5',1*6$/(2)3523(57<
   .$0 35(3$5(23326,7,2172239 6(;3$57(            #            
               $33/,&$7,2172&217,18(+($5,1*  
               '5$)7'(&/$5$7,21,16833257
               7+(5(2) 
   .$0 $1$/<6,65(*$5',1*5(/,())52067$<             #                
               027,21
   .$0 5(9,(:5(3/<2)2395(*$5',1*                   #                 
               +($5,1*&217,18$1&(5(9,(:&2857 6
               25'(5&217,18,1*+($5,1*
   .$0 $1$/<6,65(*$5',1*7(5062)                     #                
               6(77/(0(172))(5
   5:% /(*$/5(6($5&+5(                              #                
   .$0 $1$/<=(027,21)255(/,())52067$<             #                

   .$0 5(6($5&+5(*$5',1*                             #                

   .$0 ),1$/,=(6(77/(0(172))(57(506                 #                
   .$0 &21)(5:,7+-*2/'(15(*$5',1*67$<            #                
               027,21
   -,* 675$7(*,=(5(0((7,1*                           #                
   .$0 '5$)723326,7,2172027,21)255(/,()           #                
               )52067$<2)/,7,*$7,21
   5:% /(*$/5(6($5&+5(                              #                

   .$0 '5$)723326,7,2172027,21)255(/,()           #            
               )52067$<2)/,7,*$7,21
   5:% /(*$/5(6($5&+5(              $1'             #                
               35(3$5(0(0272.(55<021,+$15(

   -,* 5(9,(:3/($',1*6                                #              
   .$0 '5$)723326,7,2172027,21)255(/,()           #            
               )52067$<2)/,7,*$7,21
   .$0 $1$/<6,65(*$5',1*5(6($5&+                     #                

   .$0 ),1$/,=($1'),/(23326,7,2172                 #                
               027,21)255(/,())52067$<2)
               /,7,*$7,21

                                                                     Exhibit B , pg. 7
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 26 of 39 Page ID
3$*(                              #:3291
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

   -,* 5(9,(:$1$/<6,62)23326,7,21                   #                
   -,* 5(9,(:2)3/($',1*6$1'$1$/<6,65(             #                
               6$0(
   .$0 &255(6321'(1&(72&/,(17                       #                 

   .$0 5(9,(:$1'$1$/<=(23326,7,2172                #                
               027,2172(;3$1'5(&(,9(56+,3
   .$0 35(3$5(5(3/<5(*$5',1*027,2172               #            
               (;3$1'5(&(,9(56+,3
   .$0 5(9,6(5(3/<,168332572)027,2172            #                
               (;3$1'5(&(,9(56+,3
   .$0 &255(6321'(1&(:,7+239&2816(/                 #                 
   .$0 7(/(3+21(&$//:,7+239&2816(/                 #                 
               5(*$5',1*6$/(
   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                 
               +($5,1*6
   .$0 &21)(5:,7+-*2/'(1$1')'(9,1(             #                
               5(*$5',1*
   .$0 35(3$5()2583&20,1*+($5,1*6                   #                
   .$0 &255(6321'(1&(:,7+239&2816(/                 #                
               5(*$5',1*+($5,1*60(',$7,21
   .$0 35(3$5()25+($5,1*621027,2172               #            
               6(//027,2172(;3$1'5(&(,9(56+,3
               $1'027,2172/,)767$<
   -,* 675$7(*,=(5(+($5,1*                           #               
   .$0 $77(1'+($5,1*21027,21726(//                #            
               $1'5(/$7('027,216
   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                
               +($5,1*
   -,* &21)(5(1&(5(+($5,1*                           #                
   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                 
               675$7(*<
   -,* &21)(5(1&(5(+($5,1*                           #                 
   .$0 5(9,(:$1'$1$/<=(&2857 625'(521             #                 
               027,216
   .$0 &21)(5:,7+-*2/'(1$1'&/,(17                #                
               5(*$5',1*
   .$0 $1$/<6,65(*$5',1*1(;767(36                   #                 
   .$0 7(/(3+21(&$//:,7+23326,1*                    #                 
               &2816(/5(*$5',1*/,7,*$7,21
   .$0 &$//:,7+)'(9,1(5(*$5',1*                  #                 

   .$0 &21)(5:,7+-*2/'(15(2393(7,7,21           #                 
               $1'/,7,*$7,21
   .$0 5(6($5&+$1'$1$/<6,65(*$5',1*                 #                
               239 6352326('3(7,7,21)2526&81'(5
               &&36(&7,21
   .$0 5(9,(:352326('$0(1'0(17672239               #                 

                                                                     Exhibit B , pg. 8
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 27 of 39 Page ID
3$*(                              #:3292
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

               &203/$,17
   .$0 &21)(5(1&(&$//:,7+2395(*$5',1*              #                
               26&027,21
   .$0 &255(6321'(1&(72&/,(175(*$5',1*              #                 

   .$0 5(9,(:&255(6321'(1&()520239                  #                
               5(*$5',1*6(&7,21
   .$0 7(/(3+21(&$//:,7+0&211$//<                 #                
               5(*$5',1*2393(7,7,21
   .$0 &21)(5:,7+-*2/'(15(*$5',1*239             #                
               /,7,*$7,21$1'0(5,762)&/$,06
   .$0 $1$/<6,65(*$5',1*67$7(&2857                  #                
               /,7,*$7,21&/$,06
   .$0 &255(6321'(1&(72=0<6/2 6&2816(/              #                 
               5(*$5',1*0((7,1*
   .$0 &255(6321'(1&(72&/,(175(*$5',1*              #                 

   .$0 $1$/<6,65(*$5',1*5(029$/25                   #                
               67$7(&2857/,7,*$7,2172)('(5$/
               &2857
   .$0 6(77/(0(17&21)(5(1&(:,7+                      #                
               23326,1*&2816(/
   .$0 $1$/<6,65(*$5',1*%$1.5837&<                   #                 
               ),/,1*
   -,* &21)(5(1&(5(5(62/87,21:                     #                
               23326,1*&2816(/675$7(*,=(5(6$0(
   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                 
               675$7(*<
   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                 
               327(17,$/%$1.5837&<),/,1*
   -,* $1$/<=(',6&29(5</,7,*$7,21$1'                #            
               27+(5237,2165(6($5&+5(6$0(
   .$0 &21)(5:,7+-*2/'(15(*$5',1*:5,7            #                 
               3(7,7,21
   .$0 &21)(5(1&(&$//:,7+&/,(17                     #                
               5(*$5',1*

   .$0 $1$/<6,65(6(59,&(2)&203/$,17$1'            #                
               3(7,7,2121$&7$-)9$5,286
               &255(6321'(1&(5(*$5',1*6$0(
   .$0 5(9,(:',6&29(5<)52023972$&7                #                 
               $1'$-)
   .$0 5(9,(:239'2&80(176                            #                 
   .$0 5(9,(:$1'$1$/<=(3(7,7,217292,'             #                
               *5$17'(('72$-)
   .$0 &255(6321'(1&(:,7+239&2816(/                 #                 
               5(*$5',1*6(59,&($1$/<6,6
               5(*$5',1*6$0(

                                                                     Exhibit B , pg. 9
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 28 of 39 Page ID
3$*(                             #:3293
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

   .$0 '5$)75(63216(672',6&29(5<                    #                 
               5(48(67672$-)$&7
   .$0 $1$/<6,65(*$5',1*',6&29(5<72%(              #                  
               3523281'('
   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                 
               /,7,*$7,21$1'6(77/(0(17
   .$0 35(3$5(5(63216(672',6&29(5<                  #                 
   .$0 &21)(5(1&(&$//:,7+23326,1*                   #                 
               &2816(/5(*$5',1*327(17,$/
               6(77/(0(17$1'',6&29(5<
   .$0 35(3$5(68%67,787,2162)$77251(<               #                 
               &255(6321'(1&(5(*$5',1*6$0(
   .$0 &21)(5:,7+-*2/'(15(*$5',1*                 #                  
               6(77/(0(17
   .$0 &255(6321'(1&(:,7+)&2175(5$6                #                  
               5(*$5',1*68%67,787,212)&2816(/
   .$0 &255(6321'(1&(:,7+&/,(17                      #                  

   .$0 $1$/<6,65(*$5',1*23326,7,2172                #                  
               3(7,7,217292,'*5$17'(('
   .$0 '5$)7',6&29(5<5(63216(6                       #                 
   .$0 7(/(3+21(&$//)5200&211$//<                 #                  
               5(*$5',1*3(7,7,21
   .$0 5(9,(:'(326,7,2168%32(1$72&/,(17            #                  
   .$0 &21)(5(1&(&$//:,7+-*$1'239                 #                 
               &2816(/5(*$5',1*6(77/(0(17
   .$0 5(9,(:6(77/(0(17352326$/)520                 #                  
               239
   .$0 35(3$5(6800$5<2)83&20,1*                     #                 
               '($'/,1(6&255(6321'(1&(
               5(*$5',1*6$0(
   -,* 5(6($5&+5(6$/(2)3523(57<,668(              #                 
   .$0 &255(6321'(1&()520)&2175(5$6                #                 
               5(*$5',1*6$&$1$/<6,65(*$5',1*
               6$0(
   .$0 &21)(5:,7+&/,(175(*$5',1*                    #                 

   .$0 $1$/<6,65(*$5',1*)5$8'8/(17                   #                 
               75$16)(5&/$,06
   -,* $1$/<=(%$1.5837&<237,21                       #                 
   .$0 &$//:,7+-*2/'(15($&7&/$,06               #                  
   .$0 $1$/<6,62)&/$,06,167$7(&2857               #                 
               /,7,*$7,2138568$17727 5&2'(
               6(&7,21
   .$0 &21)(5(1&(&$//5(67$7(&2857                  #                 
               /,7,*$7,21
   .$0 $1$/<6,62)&5266&/$,06$1'                    #             
               $335235,$7()2580  5(6($5&+5(

                                                                     Exhibit B , pg. 10
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 29 of 39 Page ID
3$*(                             #:3294
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

                 3(50,66,9($1'&2038/625<
                 &2817(5&/$,06  $1$/<6,6
                 5(*$5',1*75$16)(52)3(1',1*
                 &/$,06  '5$)7&5266&/$,06)25
                 )5$8'8/(1775$16)(5  
   .$0   '5$)7&5266&203/$,17)25                     #                 
                 )5$8'8/(1775$16)(5
   .$0   &$//:,7+-*2/'(15(*$5',1*                 #                  
                 &5266&/$,06$*$,167239(7$/
   .$0   '5$)7&5266&203/$,17)25                     #             
                 )5$8'8/(1775$16)(5
   .$0   &$//:,7+239&2816(/5(*$5',1*               #                 
                 6(77/(0(17
   .$0   &21)(5:,7+0$'(/(5(*$5',1*                #                 
                 &5266&/$,06
   .$0   '5$)7&5266&203/$,17)25                     #             
                 )5$8'8/(1775$16)(5
   -,*   6(77/(0(171(*27,$7,21&$//                   #               
   .$0   '5$)7&5266&203/$,17)25                     #             
                 )5$8'8/(1775$16)(5
   .$0   &$//:,7+)&2175(5$6$1'/)5$1&,6         #                 
                 5(*$5',1*6(77/(0(17
   .$0   &$//:,7+=0<6/26 &2816(/                    #                  
                 5(*$5',1*6(77/(0(17
   .$0   &21)(5:,7+&/,(175(*$5',1*                  #                 

   .$0 &21)(5:,7+0$'(/(5(*$5',1*                  #                 
               &5266&203/$,17&/$,06
   .$0 '5$)75(63216(6725(48(676)25                 #                 
               352'8&7,21
   -,* 5(9,(:$1$/<6,62)&5266&203/$,17              #                 
   -,* 5(9,(:2)6(77/(0(17675$7(*<$1'               #                 
               &$//65(6$0(
   .$0 '5$)7&5266&203/$,17$*$,167239              #             
               (7$/,1&/8',1*5(6($5&+5(67$7(
               /$:&/$,06
   .$0 &$//:,7+239&2816(/5(*$5',1*                 #                  
               327(17,$/6(77/(0(17
   .$0 '5$)7&5266&203/$,17$*$,167239              #                 
               (7$/
   .$0 5(9,(:',6&29(5<5(63216(6%<                   #                 
               $56(1$8/7$1'=0<6/2
   .$0 &255(6321'(1&(7223326,1*&2816(/              #                  
               5(*$5',1*&$//
   .$0 5(9,(:=0<6/2'2&80(17352'8&7,21               #                 
   .$0 &255(6321'(1&(72(*22'5,&+                   #                  
               5(*$5',1*',6&29(5<
   .$0 5(9,6()5$8'8/(1775$16)(5                      #                  

                                                                     Exhibit B , pg. 11
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 30 of 39 Page ID
3$*(                             #:3295
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

                 &203/$,1772,1&/8'(5(68/7,1*
                 75867&/$,0
   .$0   &255(6321'(1&(72=0<6/26&2816(/             #                    
                 5(*$5',1*&5266&/$,06
   .$0   &21)(5(1&(:,7+239&2816(/                   #                    
                 5(*$5',1*0(',$7,21
   -,*   675$7(*,=(5(6(77/(0(17                      #                   
   .$0   )2//2:83:,7+239&2816(/                    #                    
                 5(*$5',1*0(',$7,21
   -,*   675$7(*,=(5(5(62/87,21                      #                    
   .$0   &$//:,7+-*2/'(1$1'/6+8/0$1            #                    
                 5(*$5',1*327(17,$/6(77/(0(17
   .$0   &21)(5(1&(&$//:,7+$//3$57,(6              #                   
                 5(*$5',1*0(',$7,21
   &%0   5(9,(:&2'('$1'5('$&7(',192,&(6              #                 
   -,*   &21)(5(1&(&$//5(&$6(                         #                 
   .$0   5(9,(:$9$,/$%,/,7<)250(',$7,21               #                  
   .$0   &255(6321'(1&(72&/,(175(*$5',1*              #                 

   .$0 &255(6321'(1&(72)&2175(5$6                  #                    
               5(*$5',1*&5266&/$,0
   .$0 5(9,(:$1'$1$/<=(=0<6/2                       #                   
               &5266&203/$,17$1'$16:(5
   .$0 &217,18('5$)7,1*&5266&/$,06,1               #                   
               6$1',(*2/,7,*$7,21
   .$0 9$5,286&255(6321'(1&(:,7+3$57,(6             #                   
               5(*$5',1*0(',$7,216&+('8/,1*
   .$0 5(6($5&+$1'$1$/<6,65(*$5',1*                 #               
               &5266&203/$,17
   .$0 7(/(3+21(&$//720&211$//<                   #                    
               5(*$5',1*0(',$7,21
   -,* 675$7(*,=(5(&5266&203/$,17                   #                 
   .$0 '5$)7&5266&203/$,17,16$1',(*2              #               
               /,7,*$7,21
   .$0 &217,18('5$)7,1*&5266&203/$,17               #               
                &20021&28176
   .$0 $1$/<6,62)'2&80(176,168332572)             #                    
               $&7&/$,06&255(6321'(1&(72
               &/,(17
   .$0 9$5,286&255(6321'(1&(5(*$5',1*                #                   
               0(',$7,216&+('8/,1*
   .$0 '5$)7$16:(572&203/$,17                       #                 
   .$0 &217,18('5$)7,1*&5266&203/$,17               #               
   .$0 &$//:,7+&/,(175(*$5',1*                      #                 

   -,* 5(9,(:$1'$16:(55(9,6(&5266                  #                   
               &203/$,17
   .$0 5(9,6()5$8'8/(1775$16)(5&/$,06               #                   

                                                                       Exhibit B , pg. 12
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 31 of 39 Page ID
3$*(                             #:3296
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

                   &21)(5:,7+0$'(/(5(*$5',1*
                 6$0( 
   .$0   ),1$/,=(&5266&203/$,17)25),,1*            #                 
   .$0   &255(6321'(1&(5(*$5',1*                      #                  
                 0(',$7,21
   .$0   35(3$5(68%67,787,212)$77251(<              #                  
                 )252&/,7,*$7,21
   .$0   ),1$/,=($16:(5)25),/,1*                    #                  
   .$0   &255(6321'(1&(72-*2/'(1                   #                  
                 5(*$5',1*&21)(5(1&(
   .$0   &21)(5(1&(&$//:,7+0(',$725$1'             #                 
                 $//&2816(/
   .$0   5(9,(:67,38/$7,21$1'3$57,(6 (',76         #                 
                   9$5,286&255(6321'(1&(
                 5(*$5',1*67,38/$7,21
   .$0   5(9,(:'2&80(176352'8&('%<239              #                 
   .$0   5(9,(:2)'2&80(176352'8&('                  #                  
   .$0   7(/(3+21(&21)(5(1&(:,7+/)5$1&,6          #                 
                 5(*$5',1*0(',$7,21
   .$0   5(9,(:&2857'2&.(75(*$5',1*                 #                  
                 $16:(5$1'&2817(5&/$,06
   .$0   $77(1' 7(/(3+21,& &$6(                      #                 
                 0$1$*(0(17&21)(5(1&(
   .$0   &21)(5:,7+-*2/'(15(*$5',1*               #                  
                 0(',$7,21
   .$0   &255(6321'(1&(720&211$//<                 #                  
                 5(*$5',1*'2&80(176
   .$0   &21)(5(1&(&$//:,7+239&2816(/              #                 
                 5(*$5',1*0(',$7,21
   .$0   7(/(3+21(&$//72)&2175(5$6                #                  
                 5(*$5',1*0(',$7,21
   .$0   &255(6321'(1&(5(*$5',1*                      #                  
                 &5266&203/$,177(/(3+21(&$//72
                 &2857
   .$0   &21)(5:,7+-*2/'(15(*$5',1*               #                  
                 &5266&203/$,17
   .$0   7(/(3+21(&$//7221(/(*$/                    #                  
                 5(*$5',1*&5266&203/$,17),/,1*
   .$0   5(6($5&+5(*$5',1*237,21672                 #                 
                 $''5(66),/,1*'$7(2)
                 &5266&203/$,17
   .$0   '5$)7(;3$57($33/,&$7,21                    #                 
                 5(*$5',1*&5266&203/$,17
   .$0   9$5,286&255(6321'(1&(:,7+9                #                  
                 526$/(65(*$5',1*&5266&203/$,17
                 $1'(;3$57($33/,&$7,21
   .$0   &255(6321'(1&(:,7+)'(9,1(                 #                  


                                                                     Exhibit B , pg. 13
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 32 of 39 Page ID
3$*(                             #:3297
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

   .$0 &217,18('5$)7,1*(;3$57(                      #               
               $33/,&$7,2135(3$5('(&/$5$7,216,1
               68332575(6($5&+5(*$5',1*6$0(
   .$0 7(/(3+21(&$//:,7+/)5$1&,6                  #                   
               5(*$5',1*0(',$7,21
   .$0 ),1$/,=((;3$57($33/,&$7,21              #                   
               '5$)7352326('25'(5 
   .$0 7(/(3+21(&$//672*,9(127,&(2)(;            #                   
               3$57('5$)7(0$,/127,&(2)(;3$57(
               $33/,&$7,21
   .$0 7(/(3+21(&$//720&211$//<                   #                    
               5(*$5',1*(;3$57($1'0(',$7,21
   .$0 )2//2:83:,7+9526$/(65(*$5',1*             #                    
               (;3$57(
   .$0 35(3$5(&5266&203/$,176800216                 #                   
               )257+,5'3$57<'()(1'$176
   .$0 7(/(3+21(&$//)520(*22'5,&+                 #                    
               5(*$5',1*0(',$7,21$1'(;3$57(
               $33/,&$7,21
   .$0 35(3$5()25$1'$77(1'+($5,1*21               #                   
               (;3$57($33/,&$7,215(
               &5266&203/$,17
   .$0 35(3$5(127,&(2)(175<2)25'(521             #                    
               (;3$57($33/,&$7,21
   .$0 &255(6321'(1&()520/)5$1&,6                  #                    
               5(*$5',1*0(',$7,21
   .$0 7(/(3+21(&$//:,7+-*2/'(1                   #                    
               5(*$5',1*0(',$7,21
   .$0 &21)(5:,7+/)5$1&,6$1')                   #                    
               &2175(5$65(0(',$7,21
   .$0 &21)(5:,7+-*2/'(1$1'(                    #                   
               *22'5,&+5(0(',$7,21
   .$0 7(/(3+21(&$//:,7+/)5$1&,65(               #                   
               0(',$7,21$1'6(77/(0(17
   .$0 &21)(5:,7+)&2175(5$65(*$5',1*              #                   
               6(77/(0(17$1'0(',$7,21
   .$0 &21)(5:,7+(*22'5,&+5(*$5',1*               #                   
               0(',$7,21$1'6(77/(0(17
   .$0 &21)(5:,7+0&211$//<$1'(                  #                   
               *22'5,&+5(6(77/(0(17
   .$0 &21)(5:,7+0&211$//<$1'(                  #                   
               *22'5,&+5(6(77/(0(17
   .$0 '5$)70(',$7,21%5,()                             #             
   .$0 35(3$5()250(',$7,21                             #               
   .$0 $77(1'0(',$7,21:,7+$//3$57,(6                 #             
   -,* $77(1'0(',$7,21                                  #             
   -,* 35(3$5$7,21)250(',$7,21                         #               
   .$0 &21)(5:,7+0&211$//<5(*$5',1*                 #               

                                                                       Exhibit B , pg. 14
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3$*(                             #:3298
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

               6(77/(0(17
   .$0 9$5,286&255(6321'(1&(:,7+                     #                  
               '()(1'$1765(*$5',1*6(77/(0(17
   .$0 &255(6321'(1&(72&/,(175(*$5',1*              #                  

   .$0 )2//2:83:,7+/)5$1&,65(*$5',1*             #                 
               0(',$7,21
   .$0 &255(6321'(1&(72&/,(17                       #                  

   .$0 &$//)520/)5$1&,65(*$5',1*                  #                  
               6(77/(0(17
   .$0 5(9,(:&255(6321'(1&()520/                   #                 
               )5$1&,65(*$5',1*6(77/(0(177(506
               &255(6321'(1&(72&/,(17$1'-
               *2/'(15(*$5',1*

   .$0 &255(6321'(1&(72-*2/'(1$1'                 #                  
               &/,(175(*$5',1*

   .$0 )2//2:83:,7+/)5$1&,65(*$5',1*             #                  
               6(77/(0(17
   .$0 5(9,(:$1'$1$/<=(=0<6/26                      #                  
               $/7(51$7(352326$/
   .$0 &255(6321'(1&(72(*22'5,&+                   #                  
               5(*$5',1*',6&29(5<'($'/,1(6$1'
               6(77/(0(17
   .$0 &$//:,7+(*22'5,&+5(*$5',1*                 #                 
               =0<6/26 $/7(51$7(352326$/
   .$0 &$//:,7+0&211$//<5(*$5',1*                 #                 
               =0<6/26 $/7(51$7(352326$/
   .$0 &$//:,7+/)5$1&,65(6(77/(0(17              #                 
               7(506$1'3(1',1*23326,7,2172
               3(7,7,21
   .$0 &$//:,7+-*2/'(15(6(77/(0(17               #                  
               $1'7,0,1*2)$33529$/
   .$0 &$//720&211$//<5(*$5',1*                   #                  
               6(77/(0(17
   .$0 9$5,286&255(6321'(1&(:,7+/                  #                 
               )5$1&,6(*22'5,&+$1'&/,(17
               5(*$5',1*6(77/(0(17

   .$0 &21),50$7,21)520(*22'5,&+                   #                  
               5(*$5',1*+($5,1*213(7,7,2172
               92,'*5$17'(('
   .$0 7(/(3+21(&$//:,7+(*22'5,&+                 #                 
               5(*$5',1*6(77/(0(17$*5((0(17
   .$0 &255(6321'(1&(:,7+(*22'5,&+                 #                  
               5(*$5',1*&217,18$1&(2)'($'/,1(6

                                                                     Exhibit B , pg. 15
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3$*(                             #:3299
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
5(&(,9(56+,3
285),/($&7

                 )25',6&29(5<$1'5(63216(72
                 &5266&203/$,17
   .$0   5(9,(:67,38/$7,2172&217,18(&0&            #                  
                 '$7(&255(6321'(1&(5(*$5',1*
                 6$0(
   .$0   &255(6321'(1&(7223326,1*&2816(/            #                  
                 5(*$5',1*&217,18$7,212)&$6(
                 0$1$*(0(17&21)(5(1&(
   .$0   &255(6321'(1&(72(*22'5,&+                 #                  
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   .$0   &$//:,7+(*22'5,&+5(*$5',1*                #                 
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   .$0   5(9,(:$1'5(9,6(6(77/(0(17                  #             
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                 72&/,(17$1'23326,1*&2816(/

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               5(*$5',1*67$786&21)(5(1&($1'
               7,0(/,1()256(77/(0(17
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               '(9,1(5(*$5',1*6$0(9$5,286
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               6(77/(0(17
   .$0 '5$)7&255(6321'(1&(72)                      #                  
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   .$0 $1$/<6,65(*$5',1*6(77/(0(17                   #                 
               237,2169$5,286&255(6321'(1&(
               5(*$5',1*6(77/(0(17
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               67$786&21)(5(1&(
   .$0 &21)(5:,7+(*22'5,&+5(*$5',1*               #                 

                                                                     Exhibit B , pg. 16
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 35 of 39 Page ID
3$*(                             #:3300
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
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285),/($&7

               6(77/(0(17
   .$0 7(/(3+21(&$//:,7+0&211$//<                 #                  
               5(*$5',1*6(77/(0(17
   .$0 9$5,286&255(6321'(1&($021*67                  #                  
               &2816(/5(*$5',1*6(77/(0(17
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   .$0 &21)(5(1&(&$//:,7+(*22'5,&+                #                 
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   .$0 &255(6321'(1&(7223326,1*&2816(/              #                  
               5(*$5',1*5(9,6,216
   .$0 '5$)767,38/$7,2172$33529(                    #                 
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   .$0 &255(6321'(1&(7223326,1*&2816(/              #                  
               5(*$5',1*6(77/(0(17
   .$0 &255(6321'(1&(720&211$//<                   #                  
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   -,* 675$7(*,=(5(6$/(2)$66(76                    #                 
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   .$0 ),1$/=,(67,38/$7,21$1'5(9,(:),1$/           #                 
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   .$0 5(9,(:5('$&7('9(56,212)                      #                  
               6(77/(0(17$*5((0(17&200(176
               5(*$5',1*6$0(
   .$0 9$5,286&255(6321'(1&(5(*$5',1*                #                  
               ),1$/,=,1*6(77/(0(17$*5((0(17
   .$0 (0$,/$1'7(/(3+21(&$//72'                  #                  
               6($5/(65(*$5',1*67,38/$7,21$1'
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   .$0 7(/(3+21(&$//720&211$//<                   #                  
               5(*$5',1*67,38/$7,21$1'
               6,*1$785(672$*5((0(17
   .$0 9$5,286&255(6321'(1&(:,7+&/,(17              #                 
               $1'23326,1*&2816(/5(*$5',1*
               6(77/(0(17
   .$0 7(/(3+21(&$//:,7+(*22'5,&+                 #                  
               5(*$5',1*6(77(/0(17
   .$0 35(3$5(6(77/(0(17$*5((0(17$1'                #                 
               67,38/$7,21)25),/,1*9$5,286
               &255(6321'(1&(5(*$5',1*6$0(
   .$0 ),1$/,=($1'),/(67,38/$7,21)25               #                 

                                                                     Exhibit B , pg. 17
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 36 of 39 Page ID
3$*(                             #:3301
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
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285),/($&7

               $33529$/2)6(77/(0(17$*5((0(17
               35(3$5(3522)2)6(59,&(2)6$0(
   .$0 9$5,286&255(6321'(1&(5(*$5',1*                           #                  
               ),/(''2&80(176
   -,* 675$7(*,=(5(6(7/(0(17&/26,1*                            #                 
   .$0 &255(6321'(1&()520&/,(175(                              #                  

   .$0 &255(6321'(1&(:,7+(*22'5,&+                            #                  
               $1')'(9,1(5(*$5',1*48,7&/$,0
               '(('
   .$0 7(/(3+21(&$//)520(*22'5,&+                            #                  
               5(*$5',1*',60,66$/6
   .$0 35(3$5(5(48(676)25',60,66$/                             #                 
   .$0 7(/(3+21(&$//72&28575(&$6(                            #                  
               0$1$*(0(17&21)(5(1&(
   .$0 $77(1'7(/(3+21,&&$6(0$1$*(0(17                          #                  
               &21)(5(1&(
   .$0 5(48(67)25',60,66$/2)2&$&7,21                         #                  
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               $&&25'$1&(:,7+6(&*8,'(/,1(6
   .$0 &255(6321'(1&(:,7+239&2816(/                            #                  
               5(*$5',1*',60,66$/

                                 6800$5<2)6(59,&(6

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            727$/352)(66,21$/6(59,&(6                                               

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   3267$*(&2676)256$/('2&80(176                                                           
   '5232))&+$5*()25&2857(6<&23<'(/,9(5<2)6$/(                                          
           027,21'2&80(17672-8'*(&$57(5
   3$&(5&+$5*(6)25',675,&7&2857                                                            
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           6$/(027,2172-8'*(&$57(5

                                                                                Exhibit B , pg. 18
  Case 8:18-cv-02220-DOC-KES Document 109-1 Filed 06/01/20 Page 37 of 39 Page ID
3$*(                             #:3302
0$5&+
67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
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285),/($&7


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           72(;3$1'5(&(,9(56+,3
   3$&(5&+$5*(6                                                                   
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   3$5.,1*$7+($5,1*21027,21726(//                                            
   3$&(5&+$5*(6)25-8/<                                                    
   '2&80(175(75,(9$/)5206'6&                                                    
   87$+6(&2)67$7('2&80(176)25239                                            
   87$+6(&2)67$7('2&80(176)251(:3257$872632576                           
   3$&(5&+$5*(6                                                  
   )(()252%7$,1,1*$16:(572&203/$,17                                           
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           +($5,1*212&72%(5
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           '(/,9(5<2)(;3$57($33/,&$7,21
   21(/(*$/&+$5*()25),/,1*&5266&203/$,176800216                              
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           $1'6(77/(0(17$*5((0(1772&2857
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                                                                    Exhibit B , pg. 19
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3$*(                             #:3303
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67$7(0(172)$&&2817)256(59,&(65(1'(5('7+528*+)(%58$5<
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285),/($&7


7+,6,192,&(,6'8($1'3$<$%/(,1)8//8321'(/,9(5<,)1273$,'
:,7+,1'$<62)'(/,9(5<7+,6,192,&(:,//%('((0(''(/,148(17$1'
:,//7+(5($)7(5%($5,17(5(67$7$'()$8/75$7(2)3(50217+
&203281'('0217+/<7+(&/,(170867*,9(:5,77(1127,&(727+(),502)
$1<',6387(5(*$5',1*7+,6,192,&(:,7+,1'$<62)'(/,9(5<257+,6
,192,&(:,//%('((0('$33529('3/($6(&$//86,)<28+$9($1<
48(67,21625&21&(5165(*$5',1*7+,6,192,&(7+$1.<28




                                                                    Exhibit B , pg. 20
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                                  #:3304


   1                                CERTIFICATE OF SERVICE
   2            I hereby certify that on June 1, 2020, I caused the foregoing to be electronically
   3   filed with the Clerk of the Court using the CM/ECF system, which will send
   4   notification of the filing to all participants in the case who are registered CM/ECF
   5   users.
   6
   7                                                    /s/ Faith A. Devine
                                                        FAITH A. DEVINE
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                                                                                    Case No. 8:18-cv-02220
                                                             DEVINE DECL. ISO INITIAL FEE APPLICATION
